      Case 1:21-cr-00191-JEB     Document 151      Filed 01/15/25   Page 1 of 3




               UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
    Plaintiff,

v.                                            21-cr-00191-JEB-1
RYAN SCOTT ZINK
    Defendant.

 RYAN SCOTT ZINK’S MOTION TO ADJUST RELEASE CONDITIONS

      COMES NOW Defendant Ryan Scott Zink (“Zink”), by undersigned

counsel, with the following motion to modify his release conditions. Zink has been

under some form of release conditions for three years and has had no violations.

His current release conditions, although they encompass a large part of Texas, is

inhibiting Zink’s professional life. Zink has accepted a position that requires

constantly changing where he reports to work, and thus he needs access to

different counties. His job takes him throughout Texas and New Mexico. Any

hinderance on this would effectively leave him unemployed and unemployable.

He currently has an offer to be a Safety Supervisor, which requires this fluidity of

movement between and throughout Texas and New Mexico. Zink is happy and

open to provide constant contact with his respective parole officer to report where

and when he is traveling when asked, but the current restrictions will restrict him
       Case 1:21-cr-00191-JEB    Document 151     Filed 01/15/25   Page 2 of 3




from doing the same job he has been doing for years. The current job market

paired with his experience in this field means that making Zink switch jobs would

be a grave injustice and financially devastating for him and his young family.

Counsel reached out to Government Counsel via email and they indicated that they

were not opposed.



Given the misdemeanor charges and the fact that Mr. Zink is not a flight risk, we

respectfully request this court to modify the release conditions to encompass all of

Texas and New Mexico so that Zink can continue to work in his current field as he

has for his entire life.



Date: January 15, 2025                       Respectfully Submitted,


                                             /s/ Roger I. Roots
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  Case 1:21-cr-00191-JEB     Document 151     Filed 01/15/25   Page 3 of 3




                      CERTIFICATE OF SERVICE

I, Roger I. Roots, hereby certify that on this day, January 15, 2025, I caused a
copy of the foregoing document to be served on all counsel through the
Court’s CM/ECF case filing system.

                                          /s/ Roger I. Roots
                                          Roger I. Roots
